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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO. 09-21277-CIV-KING/BANDSTRA

UNITED STATES OF AMERICA,
Plaintiff,
VS.
$1,370,851.62 IN UNITED STATES CURRENCY,

Defendant.
/

STIPULATION AND SETTLEMENT AGREEMENT

Plaintiff the UNITED STATES OF AMERICA (“United States”) and claimant Coin S.A.,
LLC ( “Coinsa LLC”) hereby agree, subject to the court’s approval, to compromise and settle the
above-entitled action, upon the following terms and conditions:

1, On May 12, 2009, the United States filed a Complaint for Forfeiture in Rem against
the defendant currency (DE # 1). A Second Amended Complaint was filed on August 24, 2009 (DE
# 43).

2. On June 18, 2009, Coinsa LLC filed its Verified Claim asserting an interest in the
defendant currency (DE #20), Coinsa LLC filed its Answer and affirmative defenses on November
9, 2009 (DE # 57).

3, The notice and publication periods herein have expired, and no other claim or answer
has been filed. See DE # 36.

4. Following discovery, the parties filed cross-motions for summary judgment. On
October 6, 2010, the assigned magistrate judge issued a Report and Recommendation granting
summary judgment in favor of Coinsa LLC (DE # 96).

In order to resolve this forfeiture action and to avoid further litigation costs, the United States

and Coinsa LLC (the “parties”) hereby agree to enter into this Agreement without the admission of
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any issue of fact or law.

THEREFORE, the parties stipulate and agree as follows:

5, This Settlement Agreement does not constitute precedent on any legal issue for any
purpose whatsoever,

6. The defendant currency, in the amount of $1,370,851.62 in United States currency,
plus interest earned from the date of deposit into the Treasury Suspense Account to the date of
payment, will be returned to Coinsa LLC, less any debt owned to the United States, any agency of
the United States, or any other debt which the United States is authorized to collect.

7, The United States will pay $600,000.00 in full settlement of Coinsa LLC’s attorneys’
fees and other litigation costs incurred in connection with this action.

8. The payments to Coinsa LLC shall be by one or more electronic funds transfer to the
trust account of Coin LLC’s counsel, thatis, “Rothman & Associates, P.A. IOTA Trust Account,”

9. Upon execution of this Settlement Agreement, the United States will file with the
Court an agreed motion for entry of an order approving and adopting this Settlement Agreement,
releasing the defendant currency from forfeiture, and providing for the payments noted above,

10. | Coinsa LLC, on behaif of itself and its heirs and assigns, hereby releases, forever
discharges and holds harmless the United States, the U.S. Immi grations and Customs Enforcement,
the U.S. Customs and Border Protection, and their past, present and future officers, agents,
employees, representatives and other persons acting on their behalf, from any and all actions, causes
of action, suits, proceedings, debts, dues, judgments, damages, claims and/or demands of whatever
kind or description that might now exist or hereafter arise on account of or in connection with any
matter relating, directly or indirectly, to this case or to the seizure, detention, handling, prosecution,
or disposition of the defendant currency.

11. Except as stipulated and agreed herein, each party shal! bear its own costs, expenses,
and attorney’s fees related to this action.

12. The terms of this Settlement Agreement do not affect tax obligations, fines, penalties,
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or related interest, if any, which Coinsa LLC may owe to the U.S. Internal Revenue Service, or any
other monetary obligations which Coinsa LLC may owe to the United States.

13. Federal Jaw requires the Department of the Treasury and other disbursing officials
to offset Federal payments to collect delinquent tax and not-tax debts owed to the United States, and
to individual states. If an offset is made to the payment to be made to Coinsa LLC, Coinsa LLC will
received a notification from the Department of Treasury al the last address provided by Coinsa LLC
to the governmental agency or entity to whom the offset payment is made. If Coinsa LLC believes
that its payment may be subject to an offset, Coinsa LLC may contact the Treasury Department at
1-800-304-3107.

14. Coinsa LLC’s counsel, Rothman & Associates, P.A., agrees to provide the U.S.
Attorney’s Office with its Taxpayer Identification Number, the Taxpayer Identification Number of
Coinsa LLC, and any other information, including banking account information, that is necessary
to comply with the requirements of the Treasury Offset Program.

15. The undersigned counsel for Coinsa LLC hereby represents that he is authorized to
sign this Settlement Agreement on behalf of Coinsa LLC.

16. This Settlement Agreement may be signed in counterparts and copies of the parties’

signatures will be as good as the original signatures.
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17. The Court shall retain jurisdiction over this action for the purpose of enforcing the

terms and conditions of this Settlement Agreement.

Respectfully submitted,

WIFREDO A. FERRER
UNITED STATES ATTORNEY

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ON BEHALF OF CLAIMANY COIN S.A., LLC

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Dated: October 25, 2010

